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                 United States Court of Appeals
                            For the Eighth Circuit
                        ___________________________

                                No. 19-1912
                        ___________________________

                                  Cornell McKay

                                       Plaintiff - Appellant

                                         v.

                                 City of St. Louis

                                       Defendant - Appellee

                                  Jennifer Joyce

                                              Defendant

    Anthony Boettigheimer, in his individual and official capacities; Christian
Stamper, in his individual and official capacities; David Rudolph, in his individual
and official capacities; Richard Gray; Thomas Irwin; Bettye Battle-Turner; Erwin
 O. Switzer, in their official capacities as members of the St. Louis City Board of
  Police Commissioners; Francis G. Slay, in his official capacity as an ex-officio
 member of the St. Louis City Board of Police Commissioners; Joseph Spence, in
                                his individual capacity

                                    Defendants - Appellees

                     Susan Ryan; SC Ryan Consulting, LLC

                                         Defendants
                                  ____________

                     Appeal from United States District Court
                  for the Eastern District of Missouri - St. Louis
                                  ____________




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                             Submitted: January 15, 2020
                                   Filed: June 4, 2020
                                   ____________

Before SMITH, Chief Judge, LOKEN and GRUENDER, Circuit Judges.
                              ____________

GRUENDER, Circuit Judge.

      Cornell McKay appeals the district court’s 1 grant of summary judgment in
favor of police officers Anthony Boettigheimer, Christian Stamper, and David
Rudolph (“the Police Defendants”); probation officer Joseph Spence; various
members of the St. Louis City Board of Police Commissioners (“the Board
Defendants”); and the City of St. Louis (“City”). We affirm.

                                         I.

       On August 10, 2012, Jane Doe was leaving her car outside her condominium
in St. Louis when a man walked “right up” to her at arm’s distance, pointed a gun at
her, and demanded her money. The man took fifty dollars and Doe’s cell phone.

       Doe reported the robbery to the St. Louis Metropolitan Police Department that
same night. She described the suspect to the police as a young, black male with a
light complexion, sixteen to twenty years of age, six feet and three inches tall, and
weighing 150 pounds. After the robbery, Doe left her stolen phone activated for the
purpose of developing potential leads. She later provided detectives with a
spreadsheet she had constructed of calls made to and from her cell phone from
August 10 to August 13, using her account records from Sprint. Police conducted
an online search of the telephone numbers on Doe’s spreadsheets. One of the
numbers was linked to addresses associated with a man named Lamont Carter.

      1
        The Honorable John A. Ross, United States District Judge for the Eastern
District of Missouri.

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       On August 18, 2012, a man shot and killed Megan Boken during an attempted
armed robbery less than three blocks from Doe’s condominium. A day later,
homicide unit detectives assigned to the Boken case were alerted to the similar
location of the Doe and Boken robberies. The homicide detectives then met with
Officer Stamper and asked for information about the Doe robbery. A day after this
meeting, Officer Stamper assigned the Doe case to Officer Boettigheimer, whose
partner, Officer Rudolph, also assisted in the case. Officer Boettigheimer focused
his investigation on Carter, conducting searches on computerized databases of phone
numbers and addresses associated with Carter to identify Carter’s potential
associates. Through this process, he found fifteen to twenty individuals linked to
Carter, but only Cornell McKay matched Doe’s description of her robber.

       Officer Boettigheimer generated a photograph lineup using the images of
McKay and five others with the same physical characteristics as McKay. He then
showed this lineup to Doe, who identified McKay as the man who robbed her. As a
result, Officer Boettigheimer issued a “wanted” notice for McKay, who surrendered
himself. Officer Boettigheimer then organized a physical lineup consisting of
McKay and three others with similar physical characteristics to McKay. Doe again
identified McKay as the robber. A grand jury subsequently charged McKay with
one count of first-degree armed robbery, see Mo. Rev. Stat. § 570.023, and one count
of armed criminal action, see Mo. Rev. Stat. § 571.015.

       Meanwhile, detectives from the homicide unit had been running separate
computer searches based on Doe’s cell phone spreadsheet. These searches led them
to Kaylin Perry, whose number had been called in the days after Doe’s robbery. On
August 22 and 23, 2012, they interviewed Perry multiple times and informed
Officers Boettigheimer and Rudolph they were doing so. During the homicide
detectives’ interviews of Perry, she ultimately told them that her boyfriend, Keith
Esters, had come home one night with Doe’s phone and fifty dollars. She stated that
she believed Esters robbed someone for the phone and the money.



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       When Officers Boettigheimer and Rudolph interviewed Perry, however, she
told them only that Esters had given her Doe’s cell phone to use sometime during
the week of August 13, 2012, after her cell phone had stopped working. She also
told the officers that she did not know where or how Esters obtained Doe’s cell phone
and that she and Esters had since sold the cell phone at a gas station. Officer Rudolph
later testified that he was not told of Perry’s statement to the homicide detectives
that she believed Esters committed the Doe robbery. And Officer Boettigheimer
also testified that the homicide detectives did not tell him the specific information
they received during their interviews with Perry.

       Officers Boettigheimer and Rudolph tracked down the person who had
purchased the phone at the gas station, and that person confirmed that he had bought
the phone from Esters. In February 2013, Doe was shown a photographic lineup
that included Esters, but she did not identify him as the robber. Esters later confessed
to the Boken murder but repeatedly denied involvement in the Doe robbery.

        In December 2013, during McKay’s trial, Doe again identified McKay as the
man who robbed her. A jury convicted McKay of both the armed-robbery and
armed-criminal-action counts. State v. McKay, 459 S.W.3d 450, 452 (Mo. Ct. App.
2014). The court sentenced him to 12 years’ imprisonment. Id. The Missouri Court
of Appeals reversed the convictions on the ground that the trial court erred by
granting the prosecution’s motion to exclude any reference to Esters and remanded
the case for a new trial. Id. at 459-60. Because Doe did not want to testify at another
trial, the State declined to retry the case, and McKay was released in May 2015.

       McKay filed suit against the Police Defendants, Spence (his former probation
officer), the Board Defendants, and the City (collectively, “the Appellees”), among
others. He asserted claims under 42 U.S.C. § 1983 against the Police Defendants (in
their individual and official capacities) for violating his constitutional rights by
(1) suppressing and/or destroying evidence; against the Police Defendants (in their




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individual and official capacities) and Spence2 (in his individual capacity) for
violating his constitutional rights by (2) fabricating evidence, (3) failing to
investigate, and (4) conspiring to deprive him of his constitutional rights; and against
the Board Defendants (in their official capacities) and the City for (5) imposing
certain policies, customs, or practices in violation of his constitutional rights.

      The district court granted summary judgment for the Appellees. McKay
appeals the grant of summary judgment on all five claims.

                                          II.

        A § 1983 claim requires “(1) that the defendant(s) acted under color of state
law[] and (2) that the alleged wrongful conduct deprived the plaintiff of a
constitutionally protected federal right.” Schmidt v. City of Bella Villa, 557 F.3d
564, 571 (8th Cir. 2009). We review de novo the district court’s grant of summary
judgment on a § 1983 claim. LaCross v. City of Duluth, 713 F.3d 1155, 1157 (8th
Cir. 2013). We also review de novo a grant of summary judgment on a municipal
liability claim under § 1983. Moyle v. Anderson, 571 F.3d 814, 817 (8th Cir. 2009).
A motion for summary judgment is properly granted when “the movant shows that
there is no genuine dispute as to any material fact and the movant is entitled to
judgment as a matter of law.” Fed. R. Civ. P. 56(a).




      2
        McKay argued before the district court that his probation officer, Spence,
filed a fabricated probation revocation report that falsely stated that a photograph of
McKay appeared on Doe’s phone. On appeal, McKay mentions Spence only once,
when describing the claims he brought in the district court. He also includes only
one passing sentence obliquely referencing the probation revocation report. “Since
there was no meaningful argument on this claim in his opening brief, it is waived.”
Chay-Velasquez v. Ashcroft, 367 F.3d 751, 756 (8th Cir. 2004).

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                                          A.

       McKay first argues that the Police Defendants violated his due process rights
by suppressing or destroying evidence. Suppression of material exculpatory
evidence is a violation of a person’s due process rights. Brady v. Maryland, 373
U.S. 83, 87 (1963). To demonstrate a Brady violation, a plaintiff must show that (1)
the prosecution suppressed evidence (2) that was favorable to the defendant and (3)
that the evidence was material. Stewart v. Wagner, 836 F.3d 978, 982 (8th Cir.
2016). To establish a claim under § 1983 for a Brady violation, a plaintiff must
allege and demonstrate bad faith or, in other words, that “a law enforcement officer
other than the prosecutor intended to deprive [him] of a fair trial.” See id. at 982
(emphasis omitted).

      McKay asserts that the Police Defendants: (1) failed to preserve Doe’s phone
in such a way that evidence could be gathered from it; (2) “suppressed the true
nature” of Perry’s statements by making it appear that the Police Defendants did not
know that Perry had implicated Esters in the Doe robbery; and (3) lost or destroyed
an alleged video of the interview that Officers Boettigheimer and Rudolph
conducted with Perry. He implies that the Police Defendants must have been acting
in bad faith by suppressing or destroying evidence in order to “cover up their
shocking negligence in failing to investigate the Jane Doe robbery before Megan
Boken’s murder.”

     The district court correctly granted summary judgment to the Police
Defendants on this § 1983 Brady claim.

       First, McKay concedes there is no evidence that Doe’s phone was
intentionally destroyed, let alone destroyed in bad faith by or on behalf of the Police
Defendants. “Bad faith can be shown by proof of an official animus or a conscious
effort to” destroy exculpatory evidence. See Jimerson v. Payne, --- F.3d ---, 2020
WL 2050657, at *6 (8th Cir. Apr. 29, 2020). McKay states only that the phone is
“now destroyed and no one can provide any explanation as to how or when the phone


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was destroyed.” Without some indication of bad faith or that the phone contained
exculpatory evidence, McKay’s Brady claim regarding the destruction of Doe’s
phone necessarily fails. See United States v. Leisure, 844 F.2d 1347, 1361 (8th Cir.
1988) (declining to infer bad faith from the “sole circumstance of destruction” of
evidence).

       Second, McKay asserts that the Police Defendants failed to disclose to McKay
that Perry had made statements implicating Esters in the Doe robbery. Although it
is unclear from McKay’s brief which specific statements he alleges were suppressed,
McKay proffers no evidence that the Police Defendants were ever told about Perry’s
statement to the homicide detectives that she believed Esters committed the Doe
robbery. Regarding other statements made by Perry, McKay admitted that his
counsel was given “[t]wo DVDs . . . of statements given by Kaylin [P]erry.” As the
district court noted, McKay was given these statements by March 2013, more than
eight months before his trial. Thus, the record does not provide any support for the
claim that the Police Defendants suppressed Perry’s statements, let alone suppressed
them in bad faith.

       Third, McKay asserts that a video of an interview of Perry by Officers
Boettigheimer and Rudolph conducted in the homicide unit was either suppressed or
destroyed. Although Officer Rudolph testified as to his “understanding” that every
interview in the homicide unit is automatically recorded, McKay proffers no other
evidence that a video of this particular interview existed, let alone that it was
destroyed or suppressed in bad faith. In addition, we agree with the district court
that testimony of a robbery detective like Officer Rudolph about video-recording
protocol in the homicide unit is not particularly persuasive without additional
evidence that Officer Rudolph had past experience or special knowledge of that
unit’s video-recording protocol. Because McKay does not offer evidence that such
a video ever existed beyond conjecture and speculation, let alone any evidence that
it was suppressed or destroyed in bad faith, McKay’s claim on this point cannot
survive summary judgment. See Helmig v. Fowler, 828 F.3d 755, 762 (8th Cir.
2016) (stating that, “[w]ithout any evidence of intent or bad faith,” a § 1983 claim


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based on a Brady violation must fail); see also Zayed v. Associated Bank, N.A., 913
F.3d 709, 720 (8th Cir. 2019) (noting that “a party must provide more than conjecture
and speculation” to survive a summary judgment motion).

      For these reasons, McKay has failed to establish a genuine dispute of material
fact about whether the Police Defendants violated McKay’s “constitutionally
protected federal right[s],” see Schmidt, 557 F.3d at 571, by suppressing or
destroying evidence in bad faith. Thus, the district court did not err in granting
summary judgment to the Police Defendants on this claim. See id. at 574 (affirming
summary judgment on § 1983 claim without addressing “issues of qualified
immunity” by finding “no constitutional violation”).

                                         B.

       McKay next argues that the district court erred in granting summary judgment
to the Police Defendants on his claim that they fabricated evidence in violation of
his due process rights. Specifically, he asserts that the Police Defendants improperly
persuaded Doe to choose McKay’s image in a photograph lineup and excluded the
statements made by Perry to the homicide detectives from a police report. “If
officers use false evidence, including false testimony, to secure a conviction, the
defendant’s due process is violated.” Wilson v. Lawrence Cty., 260 F.3d 946, 954
(8th Cir. 2001). We have recognized that a plaintiff can demonstrate a violation of
substantive due process by “offer[ing] evidence of a purposeful police conspiracy to
manufacture, and the manufacture of, false evidence.” Moran v. Clarke, 296 F.3d
638, 647 (8th Cir. 2002) (en banc) (abrogated on other grounds by Manuel v. City
of Joliet, 580 U.S. ---, 137 S. Ct. 911 (2017)).

     A lineup that deprives the accused of a fair trial offends due process and can be
actionable under § 1983. Pace v. City of Des Moines, 201 F.3d 1050, 1055 (8th Cir.
2000). To determine whether an identification procedure violated due process, we
consider: (1) whether the identification was impermissibly suggestive; and (2)
whether, under the totality of the circumstances, the suggestive procedures created


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“a very substantial likelihood of irreparable misidentification.” United States v.
Murdock, 928 F.2d 293, 297 (8th Cir. 1991).

     All McKay offers to support his claim that the Police Defendants improperly
coached Doe is McKay’s assertion that he was not the robber, and therefore Doe’s
unprompted identification of him is “implausible.” But no evidence supports this
speculative argument. To the contrary, Doe consistently identified McKay as the
man who robbed her, first in a photograph lineup and later in an in-person lineup,
and she articulated differences between Esters’s features and those of the man who
robbed her. Moreover, Doe testified that she had a “good look” at the man who
robbed her on the night of the incident and that that person was McKay. Because
McKay’s claim of witness coaching is mere supposition, we agree with the district
court that this claim cannot survive summary judgment. See Zayed, 913 F.3d at 720.

     McKay also argues cursorily that the Police Defendants fabricated a police
report by refusing to include Perry’s statement that she believed Esters had
committed the robbery. But, as we noted above, McKay fails to proffer any evidence
that the Police Defendants were told of such a statement by the homicide unit
detectives. Therefore, this claim must also fail because McKay’s argument is
speculation. See Zayed, 913 F.3d at 720.

       Because the record evidence does not create a genuine dispute of material fact
regarding McKay’s fabrication-of-evidence claims, the district court did not err in
granting summary judgment to the Police Defendants.

                                          C.

       McKay also argues that the Police Defendants violated his constitutional
rights by recklessly or intentionally failing to investigate Esters as a suspect in the
Doe robbery. We have recognized that a constitutional violation occurs when
officers’ “failure to investigate was intentional or reckless, thereby shocking the
conscience.” Cooper v. Martin, 634 F.3d 477, 481 (8th Cir. 2011); see also Amrine


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v. Brooks, 522 F.3d 823, 833 (8th Cir. 2008) (“The test for whether state officers’
actions violate this protected liberty interest is whether those actions shock the
conscience.”). Allegations of negligence, even of “gross negligence,” do not give
rise to a constitutional violation. Amrine, 522 F.3d at 833, 835 (noting that officers’
failure to “follow through on investigating other leads” did not rise to the level of
recklessness).

       McKay’s assertion that the Police Defendants failed to “even consider” Esters
as a suspect in the Doe robbery is contradicted by the record. After learning of
Esters, Officers Boettigheimer and Rudolph interviewed Perry about Esters’s
connection to Doe’s phone and then included Esters’s photograph in a lineup for
Doe to identify. During this photographic lineup, Doe pointed out physical
differences between Esters and her attacker, like Esters’s “too thick” eyebrows and
“too dark” skin tone. Moreover, Doe consistently identified McKay as the robber,
and Esters admitted to the Boken murder but repeatedly denied any involvement in
the Doe robbery. Considering this evidence, we agree with the district court that the
Police Defendants did not fail to investigate, let alone fail to do so in a reckless or
intentional manner so as to “shock the conscience.” See id. at 833. Thus, the district
court did not err in granting summary judgment to the Police Defendants on this
claim.

                                          D.

       McKay next argues that the Police Defendants engaged in a conspiracy to
deprive him of his constitutional rights. To prove a § 1983 conspiracy claim, McKay
must demonstrate that the defendants “(1) conspired with others to deprive
him . . . of a constitutional right; (2) at least one of the alleged co-conspirators
engaged in an overt act in furtherance of the conspiracy; and (3) the overt act injured”
him. See Helmig, 828 F.3d at 763. McKay “is additionally required to prove a
deprivation of a constitutional right or privilege in order to prevail on a § 1983 civil
conspiracy claim.” See White v. McKinley, 519 F.3d 806, 814 (8th Cir. 2008).



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      For the reasons stated above, we agree with the district court that the Police
Defendants are entitled to summary judgment on McKay’s conspiracy claim because
McKay has failed to create a genuine dispute of material fact concerning whether he
was deprived of a constitutional right. See Robbins v. Becker, 794 F.3d 988, 997
(8th Cir. 2015) (“Absent a constitutional violation, there is no actionable conspiracy
claim.” (internal quotation marks omitted)).

                                         E.

       Lastly, McKay argues that the district court erred in granting summary
judgment to the Board Defendants in their official capacities and to the City of St.
Louis on his municipal liability claim. “A suit against a government officer in his
official capacity is functionally equivalent to a suit against the employing
governmental entity.” Veatch v. Bartels Lutheran Home, 627 F.3d 1254, 1257 (8th
Cir. 2010). “Under Monell, section 1983 liability for a constitutional violation may
attach to a municipality if the violation resulted from . . . an official municipal
policy.” Whitney v. City of St. Louis, 887 F.3d 857, 860 (8th Cir. 2018) (brackets
and internal quotation marks omitted); see generally Monell v. Dep’t of Soc. Servs.,
436 U.S. 658, 694 (1978). Therefore, “absent a constitutional violation by a city
employee, there can be no § 1983 or Monell liability for the City.” Whitney, 887
F.3d at 861.

       As summary judgment was proper on McKay’s claims against the Police
Defendants because they did not violate his constitutional rights, his Monell claim
against the City and Board Defendants in their official capacities also fails. See
Keefe v. City of Minneapolis, 785 F.3d 1216, 1227 (8th Cir. 2015). Therefore, the
district court did not err in granting summary judgment on his Monell claim.

                                         III.

      For the foregoing reasons, we affirm.
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                                                           June 04, 2020


Ms. Brandy B. Barth
NEWTON & BARTH
Suite 420
555 Washington Avenue
Saint Louis, MO 63101

         RE: 19-1912 Cornell McKay v. City of St. Louis, et al

Dear Counsel:

       The court has issued an opinion in this case. Judgment has been entered in accordance
with the opinion. The opinion will be released to the public at 10:00 a.m. today. Please hold the
opinion in confidence until that time.

        Please review Federal Rules of Appellate Procedure and the Eighth Circuit Rules on post-
submission procedure to ensure that any contemplated filing is timely and in compliance with the
rules. Note particularly that petitions for rehearing and petitions for rehearing en banc must be
received in the clerk's office within 14 days of the date of the entry of judgment. Counsel-filed
petitions must be filed electronically in CM/ECF. Paper copies are not required. No grace period
for mailing is allowed, and the date of the postmark is irrelevant for pro-se-filed petitions. Any
petition for rehearing or petition for rehearing en banc which is not received within the 14 day
period for filing permitted by FRAP 40 may be denied as untimely.

                                                           Michael E. Gans
                                                           Clerk of Court

CMD

Enclosure(s)

cc:      Mr. James R. Dowd Jr.
         Mr. J. Brent Dulle
         Mr. Robert J Isaacson
         Mr. Gregory J. Linhares
         Ms. Melanie Pennycuff
         Ms. Laura M. Robb
         Ms. Deborah Bell Yates

           District Court/Agency Case Number(s): 4:15-cv-01315-JAR



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                                                            June 04, 2020


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        RE: 19-1912 Cornell McKay v. City of St. Louis, et al

Dear Sirs:

        A published opinion was filed today in the above case.

       Counsel who presented argument on behalf of the appellant was Brandy B. Barth, of
Saint Louis, MO.

       Counsel who presented argument on behalf of the appellee City of St. Louis was J.
Brent Dulle, Associate City Counselor, Saint Louis, MO. Melanie Pennycuff, AAG, of Saint
Louis, MO argued on behalf of appellees Boettigheimer, Stamper, Rudolph, Gray, Irwin, Battle-
Turner, Switzer and Slay. On the brief of Boettigheimer, et al., was Laura M. Robb, AAG, St.
Louis, MO. The following attorney(s) appeared on the appellee brief of Joseph Spence: Deborah
Bell Yates, AAG, of Saint Louis, MO.

      The judge who heard the case in the district court was Honorable John A. Ross. The
judgment of the district court was entered on March 31, 2019.

        If you have any questions concerning this case, please call this office.

                                                            Michael E. Gans
                                                            Clerk of Court

CMD

Enclosure(s)

cc: MO Lawyers Weekly


             District Court/Agency Case Number(s): 4:15-cv-01315-JAR




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